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 In Propria Persona




                         UNITED STATES BANKRUPTCY COURT

                         NORTHERN DISTRICT OF CALIFORNIA

                                 SAN FRANCISCO DIVISION

In re:                                                Case No.: 20-30579

PROFESSIONAL INVESTORS SECURITY                       Chapter 11
FUND, INC.,
                                                      JOINDER IN INVOLUNTARY CHAPTER
                               Debtor.                11 PETITION




         With regard to the above-captioned putative debtor (the “Debtor”) against whom an

involuntary bankruptcy petition was filed on July 16, 2020 (the “Petition”), joining creditor

Steven Wertheimer, for themselves and their trust “The Wertheimer-Antonoff Family Trust”

(“Joining Creditor”) alleges and avers as follows:

         1.     The Debtor’s Tax ID number is XX-XXXXXXX.

         2.     The Debtor’s principal place of business is 350 Ignacio Blvd., #300, Novato, CA

94949.

         3.     The Debtor is a California corporation.

         4.     The Debtor’s business is real estate investment.


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        5.      Joining Creditor is not aware of any bankruptcy cases pending by or against any

partner or affiliate of the Debtor.

        6.      Over the last 180 days before filing of this bankruptcy, the Debtor had a domicile,

principal place of business, or principal assets in this district longer than in any other district.

        7.      The Debtor is generally not paying its debts as they become due, unless they are

the subject of a bona fide dispute as to liability or amount.

        8.      Joining Creditor has not transferred its claim against the Debtor.

        9.      Joining Creditor’s claim is $203,000 and is based on promissory notes made by

the Debtor. Their name and mailing address are at the top of the first page of this document.

        10.     Joining Creditor requests that an order for relief be entered against the Debtor

under chapter 11 of Title 11 of the United States Code.

        I have examined the information in this document and have a reasonable belief that the

information is true and accurate.




Dated: July 17, 2020
                                                                Steven Wertheimer




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